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EXHIBIT A

City of Lavergne Police Report
State of Tennessee

 
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Document 1-1

 

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Accepted Date 8/12/2019 8:
Generated Date 6/1 mot i ' ww Master Record Number | 102416192
Report Form Level 3 : Type Of Crash Suspected Minor injury
Approved By 3110
Tennessee Electronic Traffic Crash Report
Incident Information
Date of Crash Day Of Crash Local Agency Number Reporting Agency Name Agency Tracking Number
6/71/2019 Tuesday 0750300 Lavergne Police Dept 19-022534
Time of Crash Time Notified Time Arrived County City
12:18 : 12:16 12:20 Rutherford Lavergne
al Vehicles tat Occupants Total Non-Occupants _ Killed Total Injured Total Uninjured
9 0 2 1
Hit and Run Solved Police Pursuit }School Bus Involved [Photos Taken By Photographer Name
No No No No :
Area interchange Related Intersection Type
Not Applicable No OTHER
Block Number Roadway Number Roadway Name Suffix Mile Marker
- = eens RAMP 0.00
Estimated Distance Distance Type Direction From Highway/intersection Suffix Intersect Number
124 :
Roadway Local Id Intersect Local Id
Relation To Junction Relation to Roadway Route Signing
Entrance/Exit Ramp Related On Roadway Unknown
Work Zone Construction Zone
None
Construction Location Workers Present
First Harmful Event Trafficway Type
Motor Vehicle-In-Transport On Same Roadway Trafficway-CLOSED
Weather Conditions Light conditions Latitude Longitude Rail Crossing id
Cloudy Daylight 35.994380 -86.596850
Manner of Collision
Sideswipe, Same Direction
ist Collision Factor 2nd Collision Factor 3rd Collision Factor
Incident Management
Secondary Crash Secondary Crash Type Blockage Occurred
No Yes
Roadway / Lanes Slocked Roadway Lanes/ Cleared
Vun 14 Z@tS 1Z,19P™M dun 11 2019 12:55PM
Lanes Blocked
Lane i
Incident Started incident Cleared
Jun 17 2019 12:15PM Jun 11 2019 12:55PM
investigating Officer Details
lnvestigation Complete Rank First Name Middle Initial |Last Name Suffix
Yes FTO BILLY DUENEZ
Badge Number District/Zone Gar Number Report Date
286 4 43-25 06/17/2019
Assisting Officers
Rank First Name Middle Name Last Name Suffix
OFC HARRY HOLLINS _
Badge Number District / Zone Car Number Report Signed Report Date
324 3 324
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Driver Presence
Driver Operated
Driver Information
First Name Middle Initial
Last Name S$ ji
: J AMES ROBERT Mi on uitix Date Of Birth *.
Address Line 2 ie ; oe ; ip Code
Phonet — }
one Phone 2 Phone 3 Race Ethnicity . ender
Caucasian|Mexican|Puerto Rican|Other : .
Sena < White Non-Hispanic wl
‘ers License Number as License State ee Date Drivers License Class Drivers License Status
Safety Equipment Airba - cc
Shoulder And Lap Belt Used an i ee
7 ; AirBag Available-No Deplayment Front Seat-Left Side
na q Complied With Endorsement 2 Complied With Endorsement 3 Complied With
Restriction 4 Complied With Restriction 2 Complied With Restriction 3 Complied With
Uninown
Ejected Ejection Path Trapped/Extricated
Not Ejected . Not Trapped
Injury Code Medical Transport Ambulance/Hospital
No Injury Not Transported
Driver Conditions and Actions
Hit and Run Ee Driver/Vehicle Maneuver Distraction
No Hit And Run Other None
Driver's 1st Congition Driver's 2nd Condition Driver's 3rd Condition
Appeared Normal :
Driver's 1st Action Drivers 2nd Action
improper Turn
Driver's 3rd Action Driver's 4th Action
Aicohol and Drugs
Presence of Alcohol Determination Method Alcohol Test Status
No Observed Test Not Given
ist Alcohol Test Type 1st Alcohol Test Result 2nd Alcohol Test Type 2nd Alcohol! Test Result
Presence of Drugs Determination Method Drug Test Status
Neo Observed Test Not Given
ist Drug Test Type ist Drug Test Result 2nd Drug Test Type 2nd Drug Test Result 3rd Drug Test Type 3rd Drug Test Result
Driver Violations
ist Violation ist Violation Category ist Violation Description ist Violation Statute
2nd Violation 2nd Violation Category 2nd Violation Description 2nd Violation Statute
3rd Violation 3rd Violation Category 3rd Violation Description 3rd Violation Statute
4th Violation 4th Violation Category 4th Violation Description 4th ViolationStatute
5th Violation 5th Violation Category 5th Violation Description 5th ViolationSiatute
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Vehicle Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Owner Same as Dri i 7

a river ae First Name Owner Middle Name Owner Last Name Owner Suffix

NTHONY LEROY KRAUSE
aes E
a ua | Phone 3 Vehicle Year Vehicle Make Vehicle Model Color
; 2018 DODG R35 White
Sia Site Plate Exalion Body She
ae a Texas 102019 Standard Pi
HAZMAT? FMCSA Reportable? Bus Use : Unit Type —e
ae sca Yes . Not Used As School Bus Motor Vehicle in-Transport
ss Weig Vehicle Configuration

10001 To 26000 Truck Trailer
Vehicle Operation Type Cargo Body Type
; commercially Owned/Used Flatbed

actor 2nd Factor td Fi

NONE 3rd Factor
Vehicle Special Use Emergency Use Override/Underride
_No Special Use No
Towed Towed Location

Driven From Scene
1st Trailer ‘ist Trailer License Plate Information 2nd Trailer 2nd Trailer License information

Other Traiter TX GOGFo81 Seoc0D
insurance 1 Insurance 1 Type Insurance 1 Carrier insurance 1 Start Date Tinsurance 1 End Date

AXXXXXXXX Unknown HALLMARK COUNTY MUTUAL 3/30/2019 3/30/2020
Insurance 2 insurance 2 Type insurance 2 Carrier insurance 2 Start Date Tinsurance 2 End Date
Insurance 3 Insurance 3 Type insurance 3 Carrier Insurance 3 Start Date insurance 3 End Date
Vehicle Damage and Roadway Characteristics
Most Harmful Event Fire in Vehicle

Motor Vehicie-In-Transport On Same Roadway No
Events 4 Evenis 2 Events 3

Wotor Vehicle-in-Transport On Same Roadway
Events 4 Events 5 Events 6
Point of First Impact Extent of Damage Officer Damage Estimate

Right Side-Center Minor Damage Less Than Threshold
Areas of Vehicle Damage

Right Side-Center
Travel Direction Traveling On

North WALDRON ROAD
Trafficeway Flow Roadway Surface Type Number of Travel Lanes

Entrance Exit Ramp Asphalt One Lane.
Traffieway Hazards

None
Traffic Control Devices Traffic Control Device Functioning Roadway Raute Signing

Yield Sign Device Functioning Properly Unknown
Roadway Surface Conditions Roadway Character Alignment Roadway Character Profile

Dry Curve Right Uphill Grade
Speed Limit Access control

30 Full Control Oniy Ramp Entry and Exit
Commercial Carrier information
US DOT Carrier Name Carrier Type ; icc MC TN DOS

02597311 TK TRANSPORT INC Other Operation-Not Specified TN

ss Line 1 Address Line 2 City State Zip Code
. clute ™ 77824 mo
1st Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
2nd Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
3rd Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
3 of 7 RDA 1348

 

 

 

 
 

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mber of Occupants Driver Presence
Driver Operated
Driver Information
First Name Middle Initial La
st Nam ji
ANGELA LYNNETTE ane / Paes te OF Birth Age
Address Line Address Line 2 i Stat +
ft " [EE ne 2 Phone 3 Race ; Ethnicity Catas
—— ee . ‘ Black or African American Non-Hispanic F
Lo. State Expiration Date Drivers License Class Drivers License Status
2019 Cc
Safety Equipment Airbal Sa Pasion
Shoulder And Lap Belt Used : i seat Postuon
= . ; . AirBag Available-No Deployment Front Seat-Left Side
oe Complied With Endorsement 2 Complied With Endorsement 3 Complied With
Restriction 7 Complied With Restriction 2 Complied With icti fe
Sian, pi Restriction 3 Complied With
Ejected Ejection Path Trapped/Extricated
Not Ejected Not Trapped
Injury Code Medical Transport Ambulance/Hospital
Suspected Minor Injury EMS-Ground STONECREST MEDICAL CENTER
Driver Conditions and Actions
Hit and Run Driver/Vehicle Maneuver Distraction
No Hit And Run Stopped In Traffic Lane None
Driver's 1st Condition Driver's 2nd Condition Driver's 3rd Condition
Appeared Normal
Driver's 1st Action Drivers 2nd Action
None
Driver's 3rd Action Driver's 4th Action
Alcohol and Drugs
Presence of Alecho} Determination Method Alcohol Test Status
No Observed Test Not Given
Ist Alcohol Test Type ist Alcohal Test Result 2nd Alcohol Test Type : 2nd Alcohol Test Result
Presence of Drugs Determination Method Drug Test Status
No Observed Test Not Given
‘ist Drug Test Type ist Drug Test Result 2nd Drug Test Type 2nd Drug Test Result 3rd Drug Test Type 3rd Drug Test Result
Driver Violations
ist Violation ist Violation Category 1st Violation Description ist Violation Statute
2nd Violation 2nd Violation Category 2nd Violation Description 2nd Violation Statute
3rd Violation 3rd Violation Category 3rd Violation Description 3rd Violation Statute
4th Violation 4th Violation Category 4th Violation Description 4th ViolationStatute
5th Violation Sth Violation Category Sth Violation Description 5th ViolationStatute
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Vehicle Information
el Same as Driver owner in Name Owner Middle Name Owner Last Name Owner Suffix
i ; ELISHA BRANNEN JR
Address Line 2 City 7
Phone 3 Vehicle Year Vehicle Make Vehicle Model (Siam | aie
2604 FORD ___| FIs Black
Plate Expiration Body Style
& 912020 Standard Pickup
Bus Use Unit Type
. Not Used As Schoof Bus Motor Vehicle fa-Transport
Gross Weight : Vehicle Configuration
10000 or Less-No Haz-8 Or Less
Vehicle Operation Type Cargo Body Type
Personally Owned/Used
ist Factor 2nd Factor 3rd Factor
NONE /
Vehicle Special Use Emergency Use Override/Underride
No Special Use No
Towed Towed Location
Towed Due To Vehicle Damage EASY TOWING 670 OLD NASHVILLE Hwy
ist Trailer ist Trailer License Plate Information ~ ]2nd Trailer : 2nd Trailer License information
Insurance 1 Insurance 1 Type Insurance 1 Carrier Insurance 1 Start Date |insurance 7 End Date
No Proof Provided
insurance 2 Insurance 2 Type Insurance 2 Carrier insurance 2 Start Date Insurance 2 End Date
Insurance 3 Insurance 3 Type Insurance 3 Carrier Insurance 3 Start Date Insurance 3 End Date
Vehicle Damage and Roadway Characteristics
Most Harmful Event Fire in Vehicle
Motor Vehicle-in-Transport On Same Roadway No
Events 4 Events 2 Events 3
Motor Vehicle-in-Transport On Same Roadway
Events 4 Events § Events 6
Point of First Impact Extent of Damage Officer Damage Estimate
Left Side-Near Rear Disabling Damage Greater Than Threshold
Areas of Vehicle Damage
Lett Side-Near Rear, Left Side-Center, Left Side-Far Front
Travel Direction Traveling On
North 64E EXIT RAMP AT WALDRON ROAD
Trafficway Flow Roadway Surface Type Number of Travel Lanes
Entrance Exit Ramp Asphalt One Lane
Trafficway Hazards
None
Traffic Control Devices Traffic Control Device Functioning Roadway Route Signing
Yield Sign Device Functioning Properly Unknown
Roadway Surface Conditions Roadway Character Alignment Roadway Character Profile
Dry Curve Right Uphill Grade
Speed Limit Access control
30 ‘ Full Control Only Ramp Entry and Exit
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Occupants
Person Type
: i
First Name Middle Name Last N:
lame Suffix Birth
LESHONA ELAINE ROBERTS se
Add: (tees Line 2 si ® ae
(tame Phone 3 Gender Seating Position —— |
— F Front Seat-Right Side
Airbag Safety Equipment =
AirBag Avaitable-No Deployment Other |
Elected Ejection Path Trapped/Extricated
Not Ejected Not Trapped |
Injury Code ; Medical Transport Ambulance/tospital
Suspected Minor injury EMS-Ground STONEGCREST MEDICAL CENTER |
Alcohol and Drugs
Presence of Alcohol Determination Method Alcohol Test Status
No Observed Test Not Given
1st Alcohol Test Type ist Alcohol Test Resuit 2nd Alcohol! Test Type 2nd Alcohol Test Result
Presence Of Drugs Determination Method Drug Test Status
No Observed - Test Not Given
1st Drug Test Type 1st Drug Test Result 2nd Drug Test Type 2nd Drug Test Result 3rd Drug Test Type 3rd Drug Test Result
Violations
1st Violation ist Violation Category ist Violation Description ist Violation Statute
2nd Violation 2nd Violation Category 2nd Violation Description 2nd Violation Statute
3rd Violation 3rd Violation Category 3rd Violation Description 3rd Violation Statute
4th Violation 4th Violation Category 4th Violation Description 4th Violation Statute
5th Violation 5th Violation Category 5th Violation Description 5th Violation Statute
Commercial Carrier Information
US DOT Carrier Name Carrier Type icc Mc TN DOS
Address Line 4 Address Line 2 City State Zip Code Phone
ist Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
2nd Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
3rd Hazardous Materials HAZMAT Class Placard Placard # Released Hazardous Materials Released
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Narrative
Unit 1 driver Said he was passing Unit 2 that was stopped in the lane of traffic at the 1-24E exit 64 off ramp at Waldron Road. While doing so, the 40 foot trailer he
was hauling side Swiped the entire driver side of Unit 2. The trailer was hauling large black pipes weighing an approximate 13,000 pounds according to the driver

Unit 2 driver corroborated Unit 1's recollection of vents but added her hazards were on when Unit 1 passed her. She Said she was stopped in the lane of traffic
as her vehicle was having mechanical issues, Unit 1 was Griving at a high rate of Speed when passing Unit 2. Unit 2 driver said her truck moved when Unit 1
crashed into her. She complained of neck and hip pain. The passenger said she was in the Process of getting in Unit 2 when Unit 4 crashed inte them. She
complained of neck and back pain. Both subjects were fransported fo Stonecrest Medical Center in Smyrna by EMS Paramedic 16 for their injuries. No visible
injuries were noticed while on scene.

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